

People v Romero-Hernandez (2025 NY Slip Op 02354)





People v Romero-Hernandez


2025 NY Slip Op 02354


Decided on April 23, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 23, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

HECTOR D. LASALLE, P.J.
VALERIE BRATHWAITE NELSON
DEBORAH A. DOWLING
LOURDES M. VENTURA, JJ.


2023-05279

[*1]The People of the State of New York, respondent,
vOscar Romero-Hernandez, appellant. (S.C.I. No. 71742/22)


Joseph F. DeFelice, Kew Gardens, NY, for appellant.
Anne T. Donnelly, District Attorney, Mineola, NY (Jason R. Richards and David L. Glovin of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the Supreme Court, Nassau County (Terence P. Murphy, J.), rendered November 22, 2022, convicting him of attempted assault in the second degree, upon his plea of guilty, and imposing sentence.
ORDERED that the judgment is affirmed.
Contrary to the defendant's contention, the Supreme Court "was under no obligation to conduct a sua sponte inquiry into certain statements [he] made to the probation officer who prepared the presentence report" (People v Ruiz-Solano, 188 AD3d 1267, 1268; see People v Loftus, 183 AD3d 631, 632; People v Ospina, 175 AD3d 513, 514). In any event, the record reflects that the court conducted such an inquiry at the People's request (see People v Ruiz-Solano, 188 AD3d at 1268). To the extent that the defendant contends that the court should have granted his application to withdraw his plea of guilty, the court providently exercised its discretion in denying that application (see CPL 220.60[3]; People v Fisher, 28 NY3d 717, 726; People v Corines, 204 AD3d 827, 828; People v Prunesti, 193 AD3d 984, 985).
LASALLE, P.J., BRATHWAITE NELSON, DOWLING and VENTURA, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








